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1           Sream, Inc. (“Sream” or “Plaintiff”), by and through its attorneys of record,
2    complains against Defendants Tobacco 4 Less, Inc., Mohammad Tomizh, Tamer Thabet,
3    and DOES 1 through 10 (“DOES”) (collectively “Defendants”), alleging as follows:
4
5                                   JURISDICTION AND VENUE
6           1.    This is a civil action against Defendants for counterfeiting, trademark
7     infringement, false designation of origin and unfair competition under the Lanham Act (15
8     U.S.C. § 1051 et seq.
9           2.    This court has subject matter jurisdiction under the Lanham Act, 15 U.S.C. §§
10    1051 et seq., 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1338(a) (trademark) and 28
11    U.S.C. § 1338(b) (unfair competition), and pendant jurisdiction over the remaining claims
12    pursuant to 28 U.S.C. § 1367.
13          3.    Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) in that the
14    claim arises in this Judicial District, the Defendants may be found and transact business in
15    this Judicial District, and/or the injury suffered by Plaintiff took place in this Judicial
16    District. Defendants are subject to the general and specific personal jurisdiction of this
17    Court because of their contacts with the State of California.
18          4.     This Court has personal jurisdiction over Defendants. Amongst other things,
19    Defendants have engaged in direct, contributory, vicarious, and/or otherwise induced
20    trademark infringement and counterfeiting in this judicial district. Further, Defendants
21    have engaged in continuous and systematic business in California and, upon information
22    and belief, derive substantial revenues from commercial activities in California.
23    Specifically, Defendants have (1) designed, manufactured, sourced, imported, offered for
24    sale, sold, distributed, and/or shipped infringing and counterfeit merchandise to persons
25    within this State in the ordinary course of trade; (2) engaged in acts or omissions outside
26    of this state causing injury within the State; and/or (3) has otherwise made or established
27    contacts with this State sufficient to permit exercise of personal jurisdiction.
28   ///
                                                     2
                                               COMPLAINT
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1                                              PARTIES
2              5.   Plaintiff Sream is a corporation incorporated and existing under the laws of
3     California, with its principle place of business located at 12825 Temescal Canyon Road,
4     Suite B, Corona, California 92883. Sream does business as “RooR USA.”
5              6.   Defendant Tobacco 4 Less, Inc. (“Tob4Les”) is a California Corporation with
6     a principle place of business located at 141 Willow Street, # R, Long Beach, California
7     90806. Tob4Les is a retail smoke shop. On information and belief, and as described infra,
8     Tob4Les is engaged in the unlawful importation, manufacture, retail sale and/or wholesale
9     sales of counterfeit RooR branded water pipes and related parts.
10             7.   Defendant Mohammad Tomizh, an individual doing business as “LB Smoke 4
11    Less” (“Tomizh”) with a principle place of business located at 920 E. 45th Street, Long
12    Beach, California 90807. Tomizh operates a retail smoke shop. On information and
13    belief, and as described infra, Tomizh is engaged in the unlawful importation,
14    manufacture, retail sale and/or wholesale sales of counterfeit RooR branded water pipes
15    and related parts.
16             8.   Defendant Tamer Thabet, an individual doing business as “Up in Smoke
17    Shop” (“Thabet”) with a principle place of business located at 190 E. Carson Street,
18    Carson, California 90745. Thabet operates a retail smoke shop. On information and
19    belief, and as described infra, Thabet is engaged in the unlawful importation, manufacture,
20    retail sale and/or wholesale sales of counterfeit RooR branded water pipes and related
21    parts.
22             9.   DOES 1 through 10, inclusive, are unknown to Plaintiff, who therefore sues
23    said Defendants by such fictitious names. Plaintiff will ask leave of Court to amend this
24    Complaint and insert the true names and capacities of said Defendants when the same have
25    been ascertained. Plaintiff is informed and believes and, upon such, alleges that each of
26    the Defendants designated here as a “DOE” is legally responsible in some manner for the
27    events and happenings herein alleged, and that Plaintiff’s damages as alleged herein were
28    proximately caused by such Defendants.
                                                    3
                                               COMPLAINT
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1                              FACTS COMMON TO ALL COUNTS
2           10. Headquartered in Germany since 1995, Mr. Martin Birzle d/b/a RooR
3     (“RooR”) is an award-winning designer and manufacturer of smoker’s products. RooR
4     products are widely recognized and highly acclaimed for its ornate and innovative
5     products, including its borosilicate jointed-glass water pipes, parts, and accessories related
6     thereto. Indeed, it is one of the leading companies in the industry and has gained
7     numerous awards and recognition for its innovative products and designs.
8           11. For nearly two decades, RooR distinguished itself as the premiere
9     manufacturer of glass water pipes because of the Company’s unwavering using quality
10    materials and focus on scientific principles to facilitate a superior smoking experience.
11    RooR’s painstaking attention to detail is evident in many facets of authentic RooR
12    products. It is precisely because of the unyielding quest for quality and unsurpassed
13    innovation that RooR products have a significant following and appreciation amongst
14    consumers in the United States.
15          12. Since at least 2011, Plaintiff Sream has been the exclusive licensee of the
16    RooR Mark in the United States. By the terms of the RooR-Sream agreement, Sream has
17    manufactured water pipes under the RooR mark. Sream also advertises, markets, and
18    distributes water pipes, water pipe parts, and other smoker’s articles in association with the
19    RooR mark. All of these activities are made with RooR’s consent and approval, and in
20    accordance with RooR’s strict policies.
21          13. RooR has spent substantial time, money and effort in developing consumer
22    recognition and awareness of the RooR trademarks. These recognition is also due, in part,
23    to the collaborative efforts of Sream. Through the extensive use of the mark, RooR and its
24    exclusive licensee Sream, have built up and developed significant goodwill in the entire
25    RooR product line. A wide array of websites, magazines, and specialty shops include
26    advertising of RooR’s products which are immediately identifiable. RooR (i.e., Mr.
27    Martin Birzle) is the exclusive owner of federally registered and common law trademarks.
28    The following is a partial (non-exhaustive) list of RooR’s trademarks:
                                                   4
                                              COMPLAINT
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1                 a.     U.S. Trademark Registration Number 3,675,839 for the word mark
2                 “RooR” and its logo in association with goods further identified in registration
3                 in international class 034.
4                 b.     U.S. Trademark Registration Number 2,307,176 for the word mark
5                 “RooR” and its logo identified below in association with goods further
6                 identified in the registration in international classes 025 and 034.
7                 c.     U.S. Trademark and Registration Number 2,235,638 for the word mark
8                 “RooR” and its logo identified below in association with goods further
9                 identified in the registration in international class 021.
10                d.     Common law and unregistered state law rights in the following variants
11                of the RooR marks:
12
13
14
15
16
17
18
19
     (hereinafter collectively the “RooR Marks”).
20
            14. The superiority of the RooR products is not only readily apparent to
21
      consumers, who yearn for RooR’s higher quality glass in the marketplace, but to industry
22
      professionals as well. RooR’s unique style and functional superiority has earned the brand
23
      accolades in leading trade magazines and online publications. Indeed, it’s exactly because
24
      consumers recognize the quality and innovation associated with RooR branded products
25
      that consumers are willing to pay higher prices for them. For example, a RooR-branded
26
      45 cm water pipe retails for $300 or more, while a non-RooR product of equivalent size
27
      will usually sell for less than $100.
28
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                                                COMPLAINT
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1           15. It is exactly because of the higher sale value of RooR branded products that
2     RooR products are targets of counterfeiters. These unscrupulous entities tarnish the RooR
3     brand by unlawfully affixing the RooR Marks to substantially inferior products, leading to
4     significant illegitimate profits. In essence, Defendants, and each of them, mislead
5     consumers to pay premium prices for low grade products that free rides on the RooR
6     brand, and in turn, Defendants reap substantial ill-gotten profits.
7           16. In order to protect the RooR Marks, Sream has been granted all enforcement
8     rights to sue to obtain injunctive and monetary relief for past and future infringement of
9     the RooR Marks.
10
11                         DEFENDANTS’ UNLAWFUL ACTIVITIES
12          17. Beginning on a date that is currently unknown to Plaintiff and continuing to
13    the present, Defendants have, without the consent of Plaintiff, offered to sell and sold
14    within the United states (including within this judicial district) goods that were neither
15    made by RooR nor by a manufacturer authorized by Plaintiff (such goods are hereafter
16    referred to as “Counterfeit Goods” – examples of which are attached at exhibits A-C)
17    using reproductions, counterfeits, copies and/or colorable imitations of one or more of the
18    RooR Marks. On information and belief, Plaintiff further alleges that Defendants
19    imported said Counterfeit Goods into the United States, or encouraged others to import
20    said Counterfeit Goods into the United States, for the purpose of reselling the Counterfeit
21    Goods in the United States.
22          18. Thus, Plaintiff is informed and believes and, upon such, alleges that, in order
23    to receive higher profit margins, Defendants have held themselves out – through the
24    counterfeit products they carry - to be sponsored by, affiliated with, and/or otherwise
25    connected with RooR / Sream. Specifically, Defendants have advertised, offered for sale,
26    sold, distributed, displayed, and/or have affixed the RooR Marks to water pipes without
27    consent, license, or approval. In so doing, Defendants have sold fake RooR’s out of
28    Defendants’ stores and/or distributed the same with inferior materials and inferior
                                                  6
                                              COMPLAINT
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1     technology.
2           19. In its ongoing investigation of counterfeit sales of the Plaintiff’s products,
3     Plaintiff’s investigator purchased a “RooR” glass pipe from Defendant Tob4Les for a cost
4     of $87.19, charged to the account of Plaintiff’s investigator. A true and correct copy of the
5     counterfeit product purchased from Defendant Tob4Les as well as the purchase receipt is
6     attached hereto as Exhibit “A”.
7           20. Upon receipt, images and physical units of products purchased from
8     Defendant Tob4Les was inspected by Plaintiff to determine authenticity. Plaintiff’s
9     inspection of the purchased item using security measures confirmed that the item
10    Defendant Tob4Les sold to Plaintiff’s investigator was in fact a counterfeit.
11          21. In its ongoing investigation of counterfeit sales of the Plaintiff’s products,
12    Plaintiff’s investigator purchased a “RooR” glass pipe from Defendant Tomizh for a cost
13    of $130.00, charged to the account of Plaintiff’s investigator. A true and correct copy of
14    the counterfeit product purchased from Defendant Tomizh as well as the purchase receipt
15    is attached hereto as Exhibit “B”.
16          22. Upon receipt, images and physical units of products purchased from
17    Defendant Tomizh was inspected by Plaintiff to determine authenticity. Plaintiff’s
18    inspection of the purchased item using security measures confirmed that the item
19    Defendant Tomizh sold to Plaintiff’s investigator was in fact a counterfeit.
20          23. In its ongoing investigation of counterfeit sales of the Plaintiff’s products,
21    Plaintiff’s investigator purchased a “RooR” glass pipe from Defendant Thabet for a cost of
22    $27.75, charged to the account of Plaintiff’s investigator. A true and correct copy of the
23    counterfeit product purchased from Defendant Thabet as well as the purchase receipt is
24    attached hereto as Exhibit “C”.
25          24. Upon receipt, images and physical units of products purchased from
26    Defendant Thabet was inspected by Plaintiff to determine authenticity. Plaintiff’s
27    inspection of the purchased item using security measures confirmed that the item
28    Defendant Thabet sold to Plaintiff’s investigator was in fact a counterfeit.
                                                   7
                                              COMPLAINT
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1           25. Defendants have intentionally and knowingly directed payments for the
2     counterfeit items to be made to themselves within this Judicial District.
3           26. Through such business activities, Defendants purposely derived direct benefits
4     from their interstate commerce activities by targeting foreseeable purchasers in the State of
5     California, and in doing so, have knowingly harmed Plaintiff.
6           27. Defendants use images and names confusingly similar or identical to the RooR
7     mark to confuse customers and aid in the promotion and sales of its unauthorized and
8     counterfeit product. Defendants’ use of the RooR Marks include importing, advertising,
9     displaying, distributing, selling and/or offering for sale unauthorized copies of RooR
10    branded products.
11          28. Defendants’ use began long after RooR’s adoption and use of its trademarks,
12    and after RooR obtained the trademark registrations alleged above. Neither Plaintiff nor
13    any authorized agents have consented to Defendants’ use of the RooR Marks.
14          29. Defendants’ actions have confused and deceived, or threatened to confuse and
15    deceive, the consuming public concerning the source and sponsorship of the Counterfeit
16    RooR-branded products sold and distributed by Defendants. By their wrongful conduct,
17    Defendants have trade upon and diminished the goodwill of the RooR marks.
18    Furthermore, the sale and distribution of counterfeit goods by Defendants have infringed
19    upon the above-identified federally registered trademarks.
20          30. Defendants offering to sell, selling, importing and encouraging others to
21    import counterfeit goods in this manner was and is likely to cause confusion or to cause
22    mistake and/or deceive consumers who purchase the counterfeit goods
23          31. Defendants also offered to sell, sold, imported, and/or encouraged others to
24    import for purpose of resale within the United States counterfeit goods consisting of
25    reproductions and/or copies of products bearing the RooR Marks. Defendants’ use the
26    RooR Marks were done without Plaintiff’s authorization.
27
28
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                                             COMPLAINT
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1                                   FIRST CAUSE OF ACTION
2             (Trademark Infringement, 15 U.S.C. §§ 1114 against all Defendants)
3           32. Plaintiff incorporates here by reference the allegations in paragraphs 1 through
4     31 above.
5           33. RooR (i.e., Mr. Martin Birzle) is the legal owner of the federally registered
6     RooR Marks as set forth in more detail in the foregoing paragraphs. Sream is the
7     exclusive licensee of the RooR Marks in the United States, and has been granted all
8     enforcement rights to obtain injunctive and monetary relief for past and future
9     infringement of the RooR Marks.
10          34. The RooR Marks are valid, protectable and distinctive trademarks that RooR
11    continuously used to promote its goods for almost two decades, of which Sream has
12    participated in since at least 2011. Plaintiff is informed and believes and thereon alleges
13    that a substantial segment of the relevant purchasing public recognizes the “RooR” mark
14    as coming from and/or affiliated with RooR, and its exclusive U.S. licensee, Sream.
15          35. Defendants, and each of them, have used marks confusingly similar to RooR’s
16    federally registered RooR Marks in violation of 15 U.S.C. § 1114. Specifically, and as
17    described supra, and as shown in Exhibit A, Tob4Les has sold a counterfeit water pipe
18    bearing one or more of the RooR Marks, and has passed off such counterfeits as
19    authorized products from RooR /Sream. Likewise, and as described supra, and as shown
20    in Exhibit B & C, both Tomizh and Thabet have sold counterfeit water pipes bearing one
21    or more of the RooR Marks, and has passed off such counterfeits as authorized products
22    from RooR /Sream. However, neither Tob4Les, nor Tomizh, nor Thabet was ever
23    provided a license, permission, consent to sell counterfeit products by the rights holders to
24    the RooR Marks and/or it exclusive licensee Sream.
25          36. By such actions, each Defendant’s use of confusingly similar imitations of the
26    RooR Marks mark is likely to cause confusion, deception, and mistake by creating the
27    false and misleading impression that Defendants’ products are manufactured, produced,
28    distributed, endorsed, sponsored, approved, or licensed by RooR, or are associated or
                                                  9
                                              COMPLAINT
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1     connected with RooR and/or Sream. Plaintiff is informed and believes and thereon alleges
2     that each of the Defendants utilized the RooR Marks mark in order to create consumer
3     confusion, and have in-fact created consumer confusion, including but not limited to initial
4     interest confusion and confusion as to an affiliation or association between RooR and
5     Plaintiff, on the one hand, and each of the Defendants on the other.
6           37. At no time did any of the Defendants have the authorization, legal right, or
7     consent to engage in such activities in disregard of RooR / Sream’s rights in the RooR
8     Marks.
9           38. Each of the Defendants’ actions complained of herein were intentional,
10    willful, and malicious with a deliberate intent to trade on the goodwill associated with the
11    federally registered RooR Marks.
12          39. Plaintiff is informed and believes and thereon alleges that as a proximate result
13    of the unfair advantage accruing to each of the Defendants’ business from deceptively
14    trading on RooR / Sream’s advertising, sales, and consumer recognition, each of the
15    Defendants have made substantial sales and profits by selling counterfeit water pipes
16    bearing the RooR Marks, in amounts to be established according to proof.
17          40. As a proximate result of the unfair advantage accruing to each of the
18    Defendants’ business from deceptively trading on RooR / Sream’s advertising, sales, and
19    consumer recognition, RooR / Sream have been damaged and deprived of substantial sales
20    and has been deprived of the value of its trademark as a commercial asset, in amounts to
21    be established according to proof.
22          41. Plaintiff is informed and believes, and thereon alleges that, unless restrained
23    by the Court, each of the Defendants will continue to infringe the RooR Marks, thus
24    engendering a multiplicity of judicial proceedings, and that pecuniary compensation will
25    not afford Plaintiff adequate relief for the damage to its trademark in the public perception.
26    Further, Plaintiff is informed and believes and thereon alleges that in the absence of
27    injunctive relief, customers are likely to continue to be mistaken or deceived as to the true
28    source, origin, sponsorship, and affiliation of each of the Defendants and their goods.
                                                    10
                                              COMPLAINT
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1           42. Plaintiff is informed and believes and thereon alleges that each of the
2     Defendants’ acts were committed, and continue to be committed, with actual notice of
3     RooR / Sream’s exclusive rights and with an intent to cause confusion, to cause mistake,
4     and/or to deceive, and to cause injury to the reputation and goodwill associated with RooR
5     / Sream and RooR products. At a minimum, Plaintiff is entitled to injunctive relief and to
6     recover each of the Defendants’ profits, actual damages, enhanced profits, and damages,
7     costs, and reasonable attorney’s fees under 15 U.S.C. §§ 1114 and 1116. However, given
8     the intentional acts here Plaintiff is entitled to recover three times its actual damages or
9     three times Defendants’ profits, whichever is greater, together with Plaintiff’s attorneys’
10    fees pursuant to 15 U.S.C. § 1117. In addition, pursuant to 15 U.S.C. § 1118, Plaintiff is
11    entitled to an order requiring destruction of all infringing materials in each Defendant’s
12    possession.
13
14                                 SECOND CAUSE OF ACTION
15                         (Trademark Counterfeiting, 15 U.S.C. §§ 1116)
16          43. Plaintiff incorporates here by reference the allegations in paragraphs 1 through
17    42 above.
18          44. Counterfeiting has been recognized as a serious issue resulting in tremendous
19    losses to American businesses. To combat counterfeits, Congress passed the “Anti-
20    counterfeiting Consumer Protection Act of 1966” (ACPA).
21          45. California has a similar statute in Business and professions Code § 14250.
22          46. Defendants’ actions also constitute the use by Defendants of one or more
23    “counterfeit mark” as defined in 15 U.S.C. §1116(d)(1)(B).
24          47. Each of the Defendants’ unauthorized use of the RooR Marks on counterfeit
25    products that they have distributed has caused and is causing consumer confusion about
26    the source and sponsorship of these counterfeit goods.
27          48. Each of the Defendants’ sales of these counterfeit products has caused
28    considerable damage to the goodwill of RooR / Sream and diminished the brand
                                                11
                                               COMPLAINT
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1     recognition of the RooR.
2              49. The sales of these counterfeit products by Defendants have further resulted in
3     lost profits to Sream and have resulted in a windfall for Defendants.
4              50. Plaintiff reserves the right to elect, at any time before final judgment is entered
5     in this case, an award of statutory damages pursuant to 15 U.S.C. § 1117(c)(1) and/or (2).
6              51. Because of the willful nature of the counterfeiting, Plaintiff is entitled to an
7     award of statutory damages of up $2,000,000 per mark infringed under 15 U.S.C. §§
8     1117(c)(2).
9              52. In the alternative, and at a minimum, Plaintiff is entitled to injunctive relief
10    and to recover Defendants’ profits, actual damages, enhanced profits, and treble damages,
11    costs, and reasonable attorney's fees under 15 U.S.C. §§ 1117(b)
12             53. The acts of direct and/or contributory counterfeiting committed by Defendants
13    have caused, and will continue to cause, Plaintiff irreparable harm unless enjoined by this
14    Court.
15
16                                    THIRD CAUSE OF ACTION
17              (False Designation of Origin/Unfair Competition, 15 U.S.C. § 1115(a))
18             54. Plaintiff incorporates here by reference the allegations in paragraphs 1 through
19    53 above.
20             55. Each of the Defendants caused to enter into interstate commerce water pipes
21    that each of the Defendants marketed through use of marks that is confusingly similar to
22    the unregistered variants of the RooR Marks. Plaintiff is informed and believes and
23    thereon alleges that unregistered variants of the RooR Marks have become associated in
24    the minds of consumers with RooR / Sream and their respective RooR goods.
25             56. The marketing and sale of Defendants’ water pipes as described above
26    constitutes false designation of origin which is likely to cause confusion and mistake and
27    to deceive consumers as to the source or origin of such goods or sponsorship or approval
28    of such goods by RooR / Sream.
                                                     12
                                                COMPLAINT
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1              57. Plaintiff is informed and believes and thereon alleges that as a proximate result
2     of Defendants’ false designation of origin, each of the Defendants stand to make
3     substantial sales and profits in amounts to be established according to proof.
4              58. Plaintiff is informed and believes and thereon alleges that as a proximate result
5     of Defendants’ false designation of the origin of their goods and services, Plaintiff has
6     been damaged and deprived of substantial sales of its goods and has been deprived of the
7     value of its trade dress as commercial assets, in amounts to be established according to
8     proof.
9              59. Plaintiff is informed and believes and thereon alleges that unless restrained by
10    this Court, each of the Defendants will continue to designate falsely the origin of their
11    goods, causing irreparable damage to Plaintiff and engendering a multiplicity of lawsuits.
12    Pecuniary compensation will not afford Plaintiff adequate relief for its resulting damages.
13    Further, Plaintiff is informed and believes and thereon alleges that in the absence of
14    injunctive relief, customers are likely to continue being mistaken or deceived as to the true
15    source, origin, sponsorship, and affiliation of Defendants’ goods and services.
16             60. Plaintiff is informed and believes and thereon alleges that each of the
17    Defendants’ acts were committed, and continue to be committed, with actual notice of
18    RooR / Sream’s exclusive rights and with intent to cause confusion, to cause mistake,
19    and/or to deceive, and to cause injury to the reputation and goodwill associated with RooR
20    / Sream and genuine RooR products. Pursuant to 15 U.S.C. § 1117, Plaintiff is, therefore,
21    entitled to recover three times its actual damages or three times each of the Defendants’
22    profits, whichever is greater, together with Plaintiffs attorneys’ fees. In addition, pursuant
23    to 15 U.S.C. § 1118, Plaintiff is entitled to an order requiring destruction of all infringing
24    materials in Defendants’ possession.
25
26                                  FOURTH CAUSE OF ACTION
27        (Unfair Competition, California Business & Professions Code § 17200 et seq.)
28             61. Plaintiff incorporates here by reference the allegations in paragraphs 1 through
                                                    13
                                               COMPLAINT
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1     60 above.
2           62. Each of the Defendants’ conduct as alleged herein constitutes unfair and
3     deceptive acts or practices in the course of a business, trade, or commerce, in violation of
4     Cal. Bus. & Prof. Code §§ 17200 and 17500, et seq.
5           63. Plaintiff is informed and believes and thereon alleges that as a direct and
6     proximate result of Defendants’ wrongful conduct as described above, each of the
7     Defendants have gained property and revenues properly belonging to Plaintiff. Plaintiff
8     therefore seeks restitution of these amounts. Plaintiff also seeks injunctive relief
9     restraining Defendants, their officers, agents, and employees, and all persons acting in
10    concert with them, from further engaging in acts of unfair competition and/or fraudulent
11    business acts against RooR / Sream and its intellectual property.
12                                   FIFTH CAUSE OF ACTION
13                               (Common Law Unfair Competition)
14          64. Plaintiff incorporates here by reference the allegations in paragraphs 1 through
15    63 above.
16          65. This cause of action arises under the common law.
17          66. Upon information and belief, Defendants will continue to infringe the
18    registered and unregistered RooR Marks.
19          67. By the acts and activities of Defendants complained of herein, Defendants
20    have been unjustly enriched.
21          68. As a direct and proximate result of the acts and activities of Defendants
22    complained of herein, Sream has been damaged in an amount not yet ascertainable but
23    believed to be well in excess of $75,000. When Sream has ascertained the full amount of
24    damages, it will seek leave of court to amend this Complaint accordingly.
25          69. Plaintiff is informed and believes, and based thereon alleges, that Defendants,
26    in doing the things herein alleged, acted willfully, maliciously, oppressively and
27    despicably, with full knowledge of the adverse effect of their actions on RooR / Sream,
28    and with willful and deliberate disregard for the consequences to RooR / Sream.
                                                   14
                                              COMPLAINT
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1                                          PRAYER FOR RELIEF
2                  WHEREFORE, Plaintiff Sream, Inc. respectfully requests the following relief
3     against Defendants, and each of them, as follows:
4             1.   With regard to Plaintiff’s claim for counterfeiting:
5                  a.     Defendants’ profits and statutory damages of up to $ 2,000,000 per
6                         defendants under the ACPA;
7                  b.     Defendants’ profits, these profits being trebled;
8                  c.     Attorney’s fees;
9                  d.     Costs of suit;
10                 e.     Joint and several liability for officers, and directors for the
11                 knowing participation in the counterfeiting activities of the respective
12                 Defendants;
13            2.   With regard to plaintiff’s claim for trademark infringement:
14                 a.     Defendants’ profits pursuant to the Lanham Act;
15                 b.     Damages sustained by the Plaintiff for trademark infringement;
16                 c.     Attorney’s fees;
17                 d.     Costs of suit;
18            3.   For restitution in an amount to be proven at trial for unfair, fraudulent and
19    illegal business practices under California Business & Professions Code § 17200;
20            4.   Preliminarily and permanently enjoining Defendants and their agents,
21    employees, officers, directors, owners, representatives, successor companies, related
22    companies, and all persons acting in concern or participation with it, and each of them,
23    from:
24                 a.     The import, export, making, manufacture, reproduction, assembly, use,
25    acquisition, purchase, offer, sale, transfer, brokerage, consignment, distribution, storage,
26    shipment, licensing, development, display, delivery, marketing advertising or promotion of
27    the counterfeit RooR product identified in the complaint and any other unauthorized RooR
28    product, counterfeit, copy or colorful imitation thereof;
                                                    15
                                                COMPLAINT
     Case 5:14-cv-01735-VAP-SP Document 1 Filed 08/21/14 Page 16 of 27 Page ID #:35



1            5.    Pursuant to 15 U.S.C. § 1116(a), directing Defendants, an each of them, to file
2     with the court and serve on Sream within thirty (30) days after issuance of an injunction, a
3     report in writing and under oath setting forth in detail the manner and form in which
4     Defendants have complied with the injunction;
5            6.    For an order from the Court requiring that Defendants provide complete
6     accountings and for equitable relief, including that Defendants disgorge and return or pay
7     their ill-gotten gains obtained from the illegal transactions entered into and or pay
8     restitution, including the amount of monies that should have been paid if Defendants had
9     complied with their legal obligations, or as equity requires;
10           7.    For an order from the Court that an asset freeze or constructive trust be
11    imposed on all monies and profits in Defendants’ possession, which rightfully belong to
12    Plaintiff;
13           8.    Pursuant to 15 U.S.C. § 1118 requiring that Defendants and all others acting
14    under Defendants’ authority, at their cost, be required to deliver up to Plaintiff for
15    destruction all products, accessories, labels, signs, prints, packages, wrappers, receptacles,
16    advertisements, and other material in their possession, custody or control bearing any of the
17    RooR Marks;
18           9.    For treble damages suffered by Plaintiff as a result of the willful and
19    intentional infringements engaged in by Defendants, under 15 U.S.C. § 1117(b);
20           10.   For damages in an amount to be proven at trial for unjust enrichment;
21           11.   For an award of exemplary and punitive damages in amount to be determined
22    by the Court;
23           12.   For Plaintiff’s reasonable attorney’s fees;
24           13.   For all costs of suit;
25           14.   For such other and further relief as the Court may deem just and equitable.
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                                                    16
                                               COMPLAINT
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1
2     Dated: August 21, 2014             NEXIO, PC
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4
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6
                                         By:
7                                              Adnan M. Chaudhry
                                               Imran F. Vakil.
8                                              Attorneys for Plaintiff,
                                               Sream, Inc.
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                                          COMPLAINT
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1                                    DEMAND FOR JURY TRIAL
2            Plaintiff Sream, Inc., hereby demands trial by jury of all issues so triable under the
3     law.
4
5
6     Dated: August 21, 2014                  NEXIO, PC
7
8
9                                              By:
                                                     Adnan M. Chaudhry
10                                                   Imran F. Vakil.
                                                     Attorneys for Plaintiff,
11                                                   Sream, Inc.
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                                               COMPLAINT
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                            “EXHIBIT A”
Case 5:14-cv-01735-VAP-SP Document 1 Filed 08/21/14 Page 20 of 27 Page ID #:39
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                            “EXHIBIT B”
Case 5:14-cv-01735-VAP-SP Document 1 Filed 08/21/14 Page 22 of 27 Page ID #:41
Case 5:14-cv-01735-VAP-SP Document 1 Filed 08/21/14 Page 23 of 27 Page ID #:42




                            “EXHIBIT C”
Case 5:14-cv-01735-VAP-SP Document 1 Filed 08/21/14 Page 24 of 27 Page ID #:43
Case 5:14-cv-01735-VAP-SP Document 1 Filed 08/21/14 Page 25 of 27 Page ID #:44
               Case 5:14-cv-01735-VAP-SP     Document 1 Filed 08/21/14 Page 26 of 27 Page ID #:45
                              UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVISION IN CACD IS:
                    Yes         No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                 Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                         Eastern


QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                             YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                              Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the          YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.
                                                                                                                A.                         B.                             C.
                                                                                                                                    Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                Bernardino County            Santa Barbara, or San
                                                                                                                                                                 Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                        Yes              No                                                                           Yes            No
                    If "yes," your case will initially be assigned to the                                         If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                           If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                               INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                                WESTERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                    Yes              No

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              Case 5:14-cv-01735-VAP-SP     Document
                             UNITED STATES DISTRICT    1 CENTRAL
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                                                                   DISTRICT OF     27 of 27 Page ID #:46
                                                                               CALIFORNIA
                                                                             CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                         NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any cases previously filed in this court?                                           NO                  YES

        If yes, list case number(s):


Civil cases are related when they:

          A. Arise from the same or closely related transactions, happening, or event;
          B. Call for determination of the same or substantially related or similar questions of law and fact; or
          C. For other reasons would entail substantial duplication of labor if heard by different judges.

     Check all boxes that apply. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases
     related.

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):                                                                                                     DATE: August 21, 2014

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




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